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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA                          )
                                                  )
       v.                                         )     Criminal Action No. 1:23-cr-61-MN
                                                  )
ROBERT HUNTER BIDEN,                              )
                                                  )
                              Defendant.          )

MOTION IN LIMINE TO EXCLUDE DEFENSE FROM ARGUING OR SUGGESTING
  THAT GOVERNMENT MUST SHOW DEFENDANT’S USE OF CONTROLLED
         SUBSTANCE ON THE DAY OF HIS FIREARM PURCHASE

       The government moves to exclude the defendant from arguing or suggesting through

questioning of witnesses that the government must establish the defendant’s use of a controlled

substance on the day of his firearm purchase. Because such an argument is contrary to the law, it

should not be permitted.1 Counsel for the government has discussed this motion with defense

counsel and they oppose this motion.

                                        BACKGROUND

       The defendant is charged with possession of a firearm by a prohibited person in violation

of 18 U.S.C. § 922(g)(3) and two false statement counts under §§ 922(a)(6) and 924(a)(1)(A).

Doc. No. 40.2 At trial, the government will establish the defendant’s addiction and use of

controlled substances through different types of evidence including, but not limited to, (1) his

admissions in his book and audiobook, Beautiful Things, that he was actively addicted to crack

between at least 2016 through 2019, (2) civilian witness testimony about observations of the

defendant’s crack use during this same time period, (3) law enforcement and chemist testimony



1
  The government will prove at trial that the defendant was addicted to a controlled substance
when he possessed the firearm charged in the indictment.
2
  Section 922(g)(3) prohibits anyone “who is an unlawful user of or addicted to any controlled
substance” from possessing a firearm
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that cocaine residue was found on the brown leather pouch that the defendant had used to store

his firearm and was recovered with his firearm, and (4) contents from the defendant’s Apple

iCloud account and laptop that show the defendant was purchasing and using crack prior to,

during, and after, his possession of the firearm.

       For example, on October 13, 2018, the day after the defendant purchased the firearm, he

sent a message to H.B. which stated, “ . . . I’m now off MD Av behind blue rocks stadium

waiting for a dealer named Mookie.” On October 14, 2018, the defendant sent messages to H.B.

which stated, “I was sleeping on a car smoking crack on 4th street and Rodney” and “There’s my

truth.” In his book, he wrote about his return to Delaware in October 2018 and described staying

at a Super 8 motel, admitting: “I hardly went anywhere now, except to buy. It was me and a

crack pipe in a Super 8, not knowing which the fuck way was up. All my energy revolved around

smoking drugs and making arrangements to buy drugs—feeding the beast.” Ex. 1 at 208. The

defendant illegally possessed the firearm from October 12, 2018 until October 23, 2018, when

the gun was taken from him. Doc. No. 40 at ¶ 11.

                                           ARGUMENT
       Faced with overwhelming evidence of his addiction before, during, and after the period

when he possessed the gun, the government believes that the defendant will attempt to improperly

argue to the jury, or suggest through questioning of witnesses, that the government must establish

his use of a controlled substance on the day that he purchased the firearm. That is not the law.

       For Counts 1 and 2, the government must establish that the defendant made a false

statement. The indictment alleges that the defendant provided a false written statement on Form

4473 certifying he was not an unlawful user of, or addicted to, any controlled substance, when in

fact, as he knew, that statement was false. Doc. No. 40 at ¶ 7, 9. For Count 3, the government must

prove that the defendant was “an unlawful user or addicted to any controlled substance.” United

                                                    2
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States v. Cheeseman, 600 F.3d 270, 281 (3d Cir. 2010). Thus, for all counts, the government must

establish that the defendant was an unlawful user of, or addicted to, a controlled substance.

“Addiction” and “user” are defined in the implementing regulation for the Gun Control Act:

       Unlawful user of or addicted to any controlled substance. . . . Such use is not limited
       to the use of drugs on a particular day, or within a matter of days or weeks
       before, but rather that the unlawful use has occurred recently enough to
       indicate that the individual is actively engaged in such conduct. A person may
       be an unlawful current user of a controlled substance even though the substance
       is not being used at the precise time the person seeks to acquire a firearm or
       receives or possesses a firearm. An inference of current use may be drawn from
       evidence of a recent use or possession of a controlled substance or a pattern of use
       or possession that reasonably covers the present time, e.g., a conviction for use or
       possession of a controlled substance within the past year; multiple arrests for such
       offenses within the past 5 years if the most recent arrest occurred within the past
       year; or persons found through a drug test to use a controlled substance unlawfully,
       provided that the test was administered within the past year. . . .

27 C.F.R. § 478.11 (emphasis added). This regulation has been used in jury instructions and

accepted by appellate courts, including the Third Circuit. See United States v. Turnbull, 349 F.3d

558 (8th Cir. 2003) (finding instruction utilizing this definition to be “entirely consistent with any

standard for unlawful use to be gleaned from our prior decisions.”); United States v. Buchard, 580

F.3d 341 (6th Cir. 2009) (using Eight Circuit’s model jury instruction modeled on 27 C.F.R. §

478.11 and Turnbull); Cheeseman, 600 F.3d at 280 (Third Circuit decision referencing § 478.11

in defining an unlawful user). 3

       It does not appear that any court has held that the government must prove the defendant

was under the influence of a controlled substance on the day he purchased the firearm. Such a

holding would clearly contradict the law and courts have routinely held the opposite. See United




3
  At least one court in the Third Circuit has also utilized the definition provided in § 478.11 in
jury instructions. United States v. Zareck, 2021 WL 4391393 (W.D.Pa. 2021) (citing Cheeseman
and stating “The Third Circuit Court of Appeals has relied upon 27 C.F.R. § 478.11 to define
‘unlawful user of controlled substances’ for the purpose of § 922(g)(3)).
                                                  3
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States v. Roberge, 565 F.3d 1005, 1008–09 (6th Cir. 2009) (“Roberge cites no authority supporting

his position that the government must prove he used drugs on the day authorities seized the

firearms, and courts addressing this question concluded the contrary”) (citing cases); United States

v. Moran, 452 F.3d 1167, 1172 (10th Cir. 2006) (“It is clear that the ... conviction does not require

proof that he was using—and, presumably, possessing—marijuana at the exact time he possessed

the ammunition.”); United States v. Mack, 343 F.3d 929, 933 (8th Cir. 2003) (“[I]t was not

necessary to prove that [defendant] was actually smoking marijuana at the time that the officers

discovered him in possession of firearms”); United States v. Johnson, 572 F.3d 449, 453-54 (8th

Cir. 2009) (“We have held that to establish that a defendant was an unlawful user of marijuana

while possessing a firearm, 18 U.S.C. § 922(g)(3) does not require proof of contemporaneous use

of a controlled substance and possession of a firearm”); Corona, 849 F.2d 562 (government need

not show that the defendant was actually using drugs at the exact moment he purchased firearm);

United States v. McIntosh, 23 F.3d 1454 (8th Cir. 1994) (citing Corona and stating “the

government does not need to prove the defendant was actually using . . . drugs at the exact moment

he purchased the firearms in question in order to be convicted as an ‘unlawful user.’”).

                                       CONCLUSION

     For the foregoing reasons, any argument or questioning suggesting that the government

must establish the defendant’s use of a controlled substance on the day of his firearm purchase is

contrary to law and therefore should be excluded.




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                            Respectfully submitted,

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